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Re: Emailing: 781201 Dee ey 889 o ewe Document "BBS { : RS OS AOT Toe Ge HBB search wee SEO a

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scott van etten Search Web |awes Profile {Go|}  SignOut Home
We Found Scott Van E... 1) Scott Van Ettenamp; More. Search Free! www.BeenVerifi... Sponsored
RE: Emailing: 281201415 Douglas Horn Thursday, November 8, 2012 3:27 PM

From: “Van Etten Scott” <svanetten@EMSL.com>
To: “jameshorn65@yahoo.com™ <jameshorn65@yahoo.com>

Cc: “Peters Tracy" <tpeters@EMSL.com> "Kotowski Paula" <pkotowski@EMSL.com> "Parker mare ...

Douglas,
We can’t return your sample.

Scott Van Etten, ¢

Phone: 856-303-2558 | Fax: 856-786-0380 | Toll Free: 800-220-3675
Lab Hours: Mon-Friday 7AM-10PM, Saturday 8AM-SPM, Sunday On-Call

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hereby notified that any unauthorized review, use, dissemination, distribution, downloading, or copying of this ication is strictly prohibited. f you received this email in error,
please notify the sender by reply email and delete all copies and attachments. Thank you.”

From: Van Etten, Scott

Sent: Thursday, November 08, 2012 1:41 PM

To: jameshorn65@yahoo.com'

Cc: Peters, Tracy; Kotowski, Paula; Parker, Lisa; Van Etten, Scott
Subject: Emailing: 281201415 Douglas Horn

Douglas,

Your report is attached. Since the sample contained THC, I may not be able to return it to you as per our DEA
registration. JI am chceking on that. I'll send you an email either way. If we can, we would charge the
shipping to your CC before we ship.

I'll be in touch.

Scott Van Etten, CIH | National Director of Industrial Hygiene
‘ | 200 Route 130 North | Cinnaminson, NJ 08077

Phone: 856-303-2558 | Fax: 856-786-0380 | Toll Free: 800-220-3675

Lab Hours: ‘Mon-Friday 7AM-10PM, Saturday 8AM-5PM, Sunday On-Call

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